CaS€1215-CV-00940-RHB-P.]G ECF_ NO.l,liled 09/15/15 PagelD.l Paq_€"'l;€b€ GR

September 15, 2015 4:00 PN|
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IN THE UN|TED STATES DlSTR|CT ( WESTERN DisralcToFMici-iiGA

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FOR THE DlSTR|CT OF WESTERN MlCHlGAN

lVlichael J Schu|tz 1 11 5-CV-94O

Plaintiff Civi| Action No. RObert Holmes Bell

U.S. District Judge
V.

The City of Wyoming, Ml; |V|ajor Jack
Poll, City Council members: Wi|liam A. Jury Tria| Demanded
Verl-lulst, Riohard K. Pastoor, Joanne
Nl. Voorhees, Sam Bolt, Dan Burri|l,
Kent Vandenivood, City Manager Curtis
L l-Iolt; The City Po|ice Department,
Officer Stephen Re|linger, Capt. Kirn
Koster, L.t Scoot Gardner, Director of F’ro Se
Po|ice and Fire Services; James
Carmody; Wyoming City Attorney Jack
R Sluiter; 62A District Court1 Judge
Steven Nl Timmer, Judge Pablo Cortes,
Owner and Cook of G’s Grill; Joseff
VanHorn, and Ryan VVadel individually
and in their official capacitiesl Jointly
and Several|y.

 

Defendants.

l COMPLA|NT

;|_._ Comes now THE PLA|NT|FF, Michae| J Schuitz1 appearing pro se, and for a complaint
against the defendants above named , states, alleges, and avers as follows.

ll JURlSD|CT|ON AND VENUE

§ This Court has jurisdiction over this action under 28 U.S.C. Sections 1331 and
1343(a). The matters in controversy arise under 42 U.S.C. Section 1983.

(a) Venue properly lies in this District pursuant to 28 U.S.C. Section 1391(b)(2),
because the events giving rise to this cause of action occurred at G’s G ri l |, 3603
Division S., Wyoming, l\/lichigan, on 3/15/2014, Which is located within the
Western District of State.

§. The American With Disabi|ities Act (ADA) applies to the City of Wyoming, |V|l, because
it is a "Public Entity" as defined by Tit|e ||. 42 U.S.C. § 12131(A).

§. This ADA applies to the Wyoming City Counci| members, Mayor, and City l\/ianager,
62A District Court, because they are “Pub|ic Entities" as defined by Title ||. 42 U.S.C.
§ 12131(B).

§. The ADA applies to Wyoming Po|ice Department, and its members, because it is a
“Pub|ic Entity” as defined by Title l|. 42 U.S.C. § 12131(B). and 42 U.S.C. § 1983.

§. Own and employees of G‘s Gri||, formally located at 3603 Division Ave. S, Wyoming,

Michigan 49548: (Now closed) Was a “Public Accornmodation" as defined by ADA Tit|e
I||. 42 U.S.C. § 36.104

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lll GENERAL

?_. Defendants are; The City of Wyoming, Nl|;, Elected and/or appointed Ochia|s, Major
Jack Po|l, City Council members; William A. VerHu|st, Richard K. Pastoor, Joanne M.
Voorhees, Dan Burrill, Kent Vanderwood; City Manager Curtis L Holt; The Wyoming City
Po|ice Department; Officer Steven Rel|inger, Capt. Kim Koster, Lt Scoot Gardner, Director
of Po|ice and Fire Services; James Carmody; Wyoming City Attorney Jack R Sluiter, 62A
District Court, Judge Steven M Timmer, Judge Pab|o Cortes, Former Owner and Cook of
G's Grill; Joseff VanHorn, and Ryan Wade.

§. On July 26, 1990,Congress enactedtheAmericanswith Disabi|itiesAct (ADA)42 U.S.C.§12101, et
seq., establishing the most important civil riqhts law for persons with is disabilities in ogr ccmg

§. The Congressional statutory finding includes:

a. ‘some 43,000,000 Americans have one of more physical or mental disabilities historicallyl
society has tended to isolate and segregate individuab with disabilities and despite some
improvements such forms of discrimination against individuals is with disabilities continue to be a
serious and pervasive social problem

b. "discrimination against individuals with disabilities ties persists in such critical areas as public
accommodations;

c. "individuals with disabilities encounter various forms of discrimination, including the
discriminatory effects of architectural . . .

d. “the opporturty ...to pursue those opportunities for which our free society isjustifiably famous
..."42 U.S.C. §12101{a).

Q. Congress wentonto state explicit|ythe purpose ofthe Americans with DisabilitiesAct to be:

a. "to provide a clear and comprehensive national mandate for the eliminate on of
discrimination against individuals with disabilities;

b. "to provide clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities; and

c. “the invoke the sweep of Congressiona| authority to regulate commerce, in
order to address the major areas of discrimination faced day-to-day by people with
disabilities 42 U.S.C. § 12101(b).

g. Congress gave State and one and a half years to implement the Act. The effective
date was January 26, 1992.

1_2 Neverthe|ess, The City of Wyoming, M|, has not complied with ADA mandate for
the past 25 years that the law has been enacted. The city has not put the required
personal in place (ADA Coordinator). |f they had this personal, that person could
have possibly addressed this problem, and this case would not be here today.

g One of the most important parts of the Americans with Disabilities Act is Tit|e
known as the "Pub|icAccommodations and Services Operated by Private Errtities." 42
U.S.C. §12181.

1_4. Public Accommodations and Commercial Facilities. ADA (Title lll)

ADA Tit|e ll|, prohibits discrimination on the basis of disability in the activities of “Places
of Pub|ic Accommodations” (businesses that are generally open to the public and that fall
into one of 12 categories listed in the ADA, such as restaurants, movie theaters, schools,
day care facilities, recreation facilities, and doctors' offices...) and requires newly
constructed or altered places of public accommodation-as well as commercial facilities
(privately owned, nonresidentia| facilities such as factories, warehouses, or office
buildings)-to comply with the ADA Standards. (Note: ADA Standards are now
incorporated in building standards) (Exhibit H (1)) (Exhibit G)

§. § 36.206 Reta|iation or coercion.

» (a) No private or public entity shall discriminate against any individual because that
individual has opposed any act or practice made unlawful by this part, or because
that individual made a charge, testified, assisted, or participated in any manner in
an investigation, proceeding, or hearing under the Act or this part.

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» (b) No private or public entity shall coerce, intimidate1 threaten, or interfere with
any individual in the exercise or enjoyment of, or on account of his or her having
exercised or enjoyed, or on account of his or her having aided or encouraged any
other individual in the exercise or enjoyment of, any right granted or protected by
the Act or this part.

» (c) illustrations of conduct prohibited by this section include, but are not limited to:

0 (1) Coeroing an individual to deny or limit the benefits, services, or
advantages to which he or she is entitled under the Act or this part;

o (2) Threatening, intimidating, or interfering with an individual with a disability
who is seeking to obtain or use the goods, services, facilities, privileges,
advantages1 or accommodations of a public accommodation;

0 (3) lntimidating or threatening any person because that person is assisting
or encouraging an individual or group entitled to claim the rights granted or
protected by the Act or this part to exercise those rights; or

0 (4) Retaiiating against any person because that person has participated in
any investigation or action to enforce the Act or this par't.

E. The Americanswith Disabilities Act allows complete access to persons with disabilities,
With/or withoutservice animals; in the place of public accommodation 42 U.S.C. §12101{a)
[iVlCL 750.502(0) (Niisdemeanor crime in N|ichigan - QOdays in jail and or $500.00 ine)
lVi.S.A. 3.447(121) (9)]_

11 Three Federal laws each prohibit retaliation against person with disability making
accommodation requests, and stand upfor their civil rights

|V FACTS OF THE EVERT

E. On 3-15-2014 At about 1110 PlVl, |Vlr. Schultz entered G"s Grill. il/lr. Schultz
proceeded to the counter and place an order with the waitresses for food and drink. lVlr.
Schu|tz sat down in the booth marked for handicaps. Mr. Schuitz could see the cook over
by the kitchen area taking to another employee. |V|r. Schu|tz is very hard of hearing and
could not hear or understand What the conversation was about. The only thing lVlr. Schultz
did hear was someone saying load enough he could understand, "l’m go to call the
owner." (ExhibitA)

E. Aiso, Mr. Schu|tz had his service dog, Nicky, with him, Nicky took her place under
the table. Nir. Schultz is also diabetic, it being late in the day for me to eat, he was feeling
the effects low blood sugar. iVlr. Schultz sat quietly with his eye closed, waiting for this
order. There were no other customers in the restaurant

;Q._ After a time lVlr. Schultz heard the sound of the back door openingl he opened his
eyes turned the see Office Rellinger coming in. The officer stopped about 6 feet from the
table and ordered Mr. Schultz out the back door to the parking |ot. lVlr. Schultz complied

L. Once outside, lVlr. Schultz gave Officer Rellinger the requested driver’s iicense, as
well as his Service Dogs l.D.", and showed Officer Rellinger a third card entitled “@
have just committed a crime” (This card states State Laws and ADA Laws.) Despite this
warning card, Officer Rellinger arrested i\/liche| J. Schu|tz (A 100% service-connected
disabled veteran) for ‘Trespassing’ in a “Place of Public Accommodation", G’s Grill, a
restaurant located at 3603 S. Division, Wyoming, Nll, iicensed, #072672, to serve the
public. Officer Rellinger deprivation |V|r. Schultz of his rights or privileges of a citizens of
the United States by failing to observe his legal rights under the laws of lVliohigan, iVlCi_
750.552, lVlCL 750.502(c), and ADA civil rights laws of the United States, as he is regufred
by. By doing so he also violated iVlCl_ 750.50(a), 750.370, 752.11, and 764.1(e), False
Arrest, Grand Larceny, and Aiding and Abiding a crime. (Exhibit E) (Exhibit G)

ga Officer Rellinger confronted Nlr. Schultz, knowingly full well that he was a person with
disabilities and was accompanied by a "service dog”.

§. Nlr. Schultz filed a complaint With the police department my email. He received a
phone call Capt. Kim Koster, She referred the matterto Lt. Scoot Garclner, internal affairs,
who was on vacation When l talked with Lt. Gardner he stanchly defended Officer
Rellinger from the first minute, and told iVlr. Schuitz he would haft to file another complaint

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when the court case was resolved After the trespassing case was dismissed lVlr.
Schuitz called Lt. Gardner to file the complaint again, he did not return the ca|i.

2_4. Nlr. Schultz then filed charges with Capt. Koster. He also made several phone call
to try to get some dialoged going to resoive to problem. After adamant clams that nothing
wrong Was done, Mr. Schultz sent a message to lVlayor Poll and requested a meetingl he
refused after meeting with the Po|ice Director, City Manager, and Prosecutor who told he
“nothing wrong was done". l‘vlr. Schuitz then sent messages to the City Council members
and the City Manager. This took place over 1 1/2 years, no one would take to Nlr. Schultz
about the violations of his rights

Vl CiT¥ AND STATE LAWS THAT APPLY TO TRESSPASS|NG
§. The City Odense that was sited 010.101(42)/50~117 on the ticket.

Sec. 50-117. - Entry of private propegy without pennission; remaining without
pennission.

lt shall be unlawful for any person to enter into or upon any private property without
the permission of the owner or person in charge of such property, or after having
entered into or upon any private property with the permission of the owner or person
in charge, to remain thereon after being requested to leave by the owner or person in
charge of such property. (Code 1983, § 10.101(42))

State Law |ViCL750.552
Sec. 552.

(1) Except as othenivise provided in subsection (2), a person shall not do any of the
foilowing:

a) Enter the lands or premises of another without lawful authority after having been
forbidden to do so by the owner or occupant or the agent of the owner or occupant.
(b) Remain without lawfui authority on the land or premises of another after being
notified to depart by the owner or occupant or the agent of the owner or occupant

State Law lV|CL 750.502 (c) ( ls this lawful authority?)
Sec. 502c.

(1) A person who is an owner1 lessee, proprietor, manager, superintendent, agent, or
employee of any place of public or private housing1 accommodationl amusementl
or recreationl including but not limited to any inn, hotel, motei, apartment building,
trailer park, restaurant1 barbershop, bi|iiard parlor, store, public conveyance on
land or water, theater, motion picture house, public or private educational
institution, or eievator, who refuses to permit a person with disabilities to enter or
use the place when the place is available because the person with disabilities is
being led or accompanied by a guide or leader dog, hearing dog, or service dog is
guilty of a misdemeanor if the guide or leader dog is wearing a harness or `rf the
hearing dog or service dog is wearing a blaze orange ieash and collarl hearing dog
cape, or service dog backpack, and the person with disabilities being led or
accompanied has in his or her possession a pictured identification card certifying
that the dog was trained by a qualified organization or trainer. The department of
labor shall maintain a list of organizations or trainers that train guide or leader dogs,
hearing dogs, and service dogs.

Vll FEDERAL LAWS THAT APPLY

B. 42 U.S.C. § 12131, ADA

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Vlll CONCLUT|ON

L The City of Wyoming and its Officials and Officers have deprivation Mr. Schuitz of
rights and/or privilege of a citizen of the United States, by not modifying its current
services policies, practices and procedures and the effects thereof, that do not, or may
not, meet the requirements of the ADA. The City was mandated to perform this task 25
Years ago and has failed to do so. (Exhibit D) (Exhibit E)

L. The City does not have anADA Coordinatorto handle ADA Disabilities problem.
This person would try to resolve problems (Exhibit F)

§. The ADA has guide lines for Cities to follow, “A Primer for State and Local
Governments”, to help achieve compliance with the law. These documents have been hand
delivered to the City Manager ofhce. No rep|y. (Exhibit F)

3_0. The City has informed Places of Public Accommodations that they have some right to
expel persons they don’t want in their establishments This is not the truth. The City has
not taken into account both State and ADA Laws and refuses to learn the Law. (Exhibit D)

L The Wyoming City Attorney Jack R Sluiter is willfully ignorance of the laws governing
Trespassing charges Mr. Schuitz gave Mr. Sluiter copy of the State laws and ADA laws,
three (3) times he laid them back on the table and tried to walk away. (Exhibit D)

Q. The 62A District Court, is no better than Mr. Sluiter, they issue boiler plate restraining
order that state things that have nothing to do with “Trespassing”, and that violated Mr.
Schuitz Constitutional Right. The Court refused to read State Law the was handed to the
them. This act seems the same as lV|r. Sluiter, willfully ignorance. Not following the law,
disregarding the law, and violating Constitutional Rights. (Exhibit B)

§§ G’s Gill; Joseff VanHorn (Owner), and Ryan Wade (cook), failed to follow State Law
lV|CL 750.502(0), as well as ADA Laws. (Exhibit E) (Exhibit G) (Exhibit H (2))

lll THE PLAINT|FF

3_4_. The plaintiff, Michael J Schuitz is a citizens of Grand Rapids, and the State of
Michigan, United States of America. He is a disabled veteran, 100% service connected,
and is a qualified individual under the ADA laws He served from 6/1965 to 4/1969 in the
United State Marine Corps, and obtained the rank of Corporal (E4). ln June 2003 Mr.
Schuitz went to the VA clinic with several health issues the doctor that he was assigned
to found that he was suffering from Agent Orange syndrome. He was rated at 180%
disabled

L. Mr. Schuitz enlisted to the Marine Corps in 1965, and spent 1966 in Vietnam, then
he was assigned to Camp Lejeune, NC, until his honorable discharge in the spring of in
a of the United States of Americal to which there is no exploration date. (“Once a Marine,
always a Marine")

L. Nlr. Schuitz has been a “Service Dog" trainer for more than 20 years He is also on
the list of “Service Dog" trainer kept by the State of Michigan for the last 15 years Mr.
Schuitz often has opportunity to educate shop owner of the laws governing “Service Dog"
access in bother State and Federal Laws Over the years Mr. Schuitz has become a very
knowable expert on the “Service Dog" laws and Disabled rights under the ADA.

lX PRAYER FOR REL|EF

§L The plaintiff requests an injunctive relief; that the City of Wyoming be ordered to
commence the required changes under ADA 35.105 within 30 days, and start the training
of the police within 60 days, and training the rest of supervisory personal within 90 days

§§ injunctive relief, the 62A District Court be ordered to a-sponge all records of persons
convicted since 1990 of “Trespassing", other than those that occurred in privet residents
And to dismiss all cases that by come before The Court that are charged with
“Trespassing” in a Place of Pubiic Accommodations.

D. Order the City of Wyoming to pay money damages of $50,000.00 for each years
(25) that they have not complied with the ADA Law. (This money is to be divided among

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the citizens that have been arrested for and/or charged with “Trespassing" over the last
7 years.)

4_0. Order all other defendants except Officer Rellinger, Joseff VanHorn, and Ryan
Wade, to pay $5,000.00 each in money damages for their lack of action and refusal to
communicate violating the rights under the ADA laws (City not to pay this for then.)

L. Office Rellinger, Joseff VanHorn, and Ryan Wadel to face State charges

MMW
W/Lw§;

Michael J Schuitz
1961 Prospect SE
Grand Rapids, Michigan, 49507 PRO SE Dated; September 15, 2015

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